Case 1:03-cv-OO439-DWI\/| ECF No. 61-6 filed 01/20/04 Page|D.€QO Page 1 of 3

case 1:0éQCV-00439-Dv\/l\/l Ecl= No. 61-6 filed 01/20/04 PagelD.691 Page 2 of 3

circuit Court For the County of Kent

""______________________________-_______

Ryan Filed: 09/20/01
Term z **/**/**
vs. Trial: No
Ryan ` Judge Gardner
PARTIES j ATToRNEYs
ann, Claire Evelyn (plaintiff) Benedict, Mary L.
vs.
Eyan, Timothy J. (civil defendant) Saxe, Thomas L.
&yan, Chris (civil defendant) Saxe, Thomas L.
)ATE |JRNL|PAGE| PROCEEDING
)9/19/01 1604 199 Exparte Order RE: Return of Plaintiff to Grand Rapids, MI
filed.
)9/20/01 0 Complaint for return and divorce from parents & notice to
h, clerk filed. (2)
ng/Ol 0 Summons issued. filing deadline set for 12/20/01 for Chris

Ryan, for Timothy J. Ryan

)9/25/01 0 Appearance & Answer to Complaint for Return and Divorce Fr
Parents and Defendants' Response to Motion for Ex Parte
Order Returning Plaintiff to Grand Rapids, Michigan and
Temporary Restraining Order filed. by Thomas L. Saxe on
behalf of Chris Ryan, on behalf of Timothy J. Ryan

l9/25/01 0 Motion for Ex Parte Order to Rescind This Court's Ex Parte
Order Dated September 19, 2001, and Request for Attorney
Fees, Costs and Sanctions and Brief in Support filed.

l9/25/01 0 Proof of Service filed. (appearance, answer to complaint,
response to motion for ex parte order, motion for ex parte
order, affidavit of Timothy J. Ryan and brief in support a:
porposed order)

9/28/01 O Motion for amended ex parte order returning plaintiff to
Grand Rapids, MI filed. mt fee pd.

9/28/01 0 Motion for appointment of attorney/guardian ad litem, for
release of records and for temporaty placement, notice of
hearing & proof of service filed. mt fee pd. ( set for

lO/B/Ol @ 9 a.m. )
Q/ZS/Ol O Affidavit filed by Adele McGinn-Loomis

-oeket as of 10/08/01 at 15 07

CaSe 1:03-cv-OO439-DWI\/| ECF No. 61-6 filed 01/20/04 Page|D.692 Page 3 of 3

circuit Court For the County of Kent

Filed: 09/20/01

Ryan
Term c **/**/**
vs Trial: No
Ryan Judge Gardner
JATE | JRNL | PAGE[ PROCEEDING
39/28/01 O Summons returned & filed. Service date 9/24/01 on Timothy
Ryan and Chris Ryan
LO/Ol/Ol O Amended Complaint for Declaration of Rights, Emancipation,
et al and proof of service filed. (5 pgs)
LO/OB/Ol O Defendants' Answer to Plaintiff's Motion for Appointment
of Attorney/Guardian Ad Litem, for Release of Records and
For Temporary Placement, Brief in Response, Notice of
Hearing (set for 10/8/01 9:00) and proof of service filed.
_0/04/01 O Answer to Defendant's Motion for Ex Parte Order to Rescind

Order, Plaintiff's Brief in Opposition to Defendant's Moti
to Dismiss and proof of service filed.

)ocket as of lO/OS/Ol at 15 07

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